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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      CRIMINAL NO. 18-260 (ABJ)
                                             :
W. SAMUEL PATTEN,                            :
                                             :
                      Defendant.             :


                                      NOTICE OF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this notice of filing of the government’s Motion

for Leave to File the Joint Status Report dated February 11, 2019 Under Seal and the Joint Status

Report in the above-captioned case.


                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    United States Attorney
                                                    D.C. Bar No. 472-845


                                             By:              /s/
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